            Case 17-03844-5-JNC                     Doc 1 Filed 08/04/17 Entered 08/04/17 16:58:52                                     Page 1 of 80

Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA - NEW BERN DIVISION

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7

                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Robert
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        W.
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Steele, II
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-0465
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Robert W. Steele, II                                                                        Case number (if known)




                                  About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have          I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and      Business name(s)                                              Business name(s)
     doing business as names

                                  EINs                                                          EINs




5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                  201 St Charles Lane
                                  Jacksonville, NC 28546
                                  Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                  Onslow
                                  County                                                        County

                                  If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                  above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                  notices to you at this mailing address.                       mailing address.

                                  P.O. Box 627
                                  Jacksonville, NC 28541
                                  Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing         Check one:                                                    Check one:
     this district to file for
     bankruptcy                          Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                         I have lived in this district longer than in any               have lived in this district longer than in any other
                                         other district.                                                district.

                                         I have another reason.                                         I have another reason.
                                         Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Robert W. Steele, II                                                                          Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7

                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




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Debtor 1    Robert W. Steele, II                                                                           Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11                   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).               No.
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    Robert W. Steele, II                                                                       Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Robert W. Steele, II                                                                            Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”

                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                                 No. Go to line 16c.

                                                 Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under              No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that             Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                        are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                     No
     are paid that funds will
     be available for                            Yes
     distribution to unsecured
     creditors?

18. How many Creditors do             1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                              5001-10,000                                   50,001-100,000
    owe?                              50-99
                                      100-199                                          10,001-25,000                                 More than100,000
                                      200-999

19. How much do you                   $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to           $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                      $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                   $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities         $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                             $10,000,001 - $50 million
                                      $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                   United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                   document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                   bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                   and 3571.
                                   /s/ Robert W. Steele, II
                                   Robert W. Steele, II                                              Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on     August 4, 2017                                    Executed on
                                                   MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Robert W. Steele, II                                                                             Case number (if known)




For your attorney, if you are     I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one                under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                  for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by     and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need      schedules filed with the petition is incorrect.
to file this page.
                                  /s/ Trawick H. Stubbs, Jr.                                         Date         August 4, 2017
                                  Signature of Attorney for Debtor                                                MM / DD / YYYY

                                  Trawick H. Stubbs, Jr.
                                  Printed name

                                  Stubbs & Perdue, P.A.
                                  Firm name

                                  PO Box 1654
                                  New Bern, NC 28563
                                  Number, Street, City, State & ZIP Code

                                  Contact phone     252-633-2700                               Email address

                                  4221
                                  Bar number & State




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 Fill in this information to identify your case:

 Debtor 1                     Robert W. Steele, II
                              First Name                    Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                      Last Name

                                                      EASTERN DISTRICT OF NORTH CAROLINA - NEW BERN
 United States Bankruptcy Court for the:              DIVISION

 Case number
 (if known)                                                                                                                                    Check if this is an
                                                                                                                                               amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                               Unsecured claim
 1                                                                   What is the nature of the claim?                                          $ $291,074.37
              Swift Financial Corporation
              d/b/a Swift Capital                                    As of the date you file, the claim is: Check all that apply
              Attn: Officer, Mgr or Agent                                    Contingent
              3505 Silverside Road                                            Unliquidated
              Wilmington, DE 19810                                            Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $


 2                                                                   What is the nature of the claim?              Guaranty of debt owed $ $265,000.00
                                                                                                                   by RWS Builders, Inc.
                                                                                                                   (Assignee on Southern
                                                                                                                   Farm Bureau Life
                                                                                                                   Insurance Policy ending
                                                                                                                   in 8579L)
              Robert Dillingham
              P.O. Box 116                                           As of the date you file, the claim is: Check all that apply
              Jacksonville, NC 28541                                         Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply


B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 1

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 Debtor 1          Robert W. Steele, II                                                             Case number (if known)


                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 3                                                                   What is the nature of the claim?              Guaranty of debt owed       $ $199,000.00
                                                                                                                   by R S I, Inc.
            Triangle Plaza, Inc.
            Attn: Manager or Agent                                   As of the date you file, the claim is: Check all that apply
            P.O. Box 12951                                                   Contingent
            New Bern, NC 28561                                                Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 4                                                                   What is the nature of the claim?                                          $ $128,154.00
            East Hardwood Company
            Attn: Manager or Agent                                   As of the date you file, the claim is: Check all that apply
            200 Williamsburg Parkway                                         Contingent
            Jacksonville, NC 28546                                            Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?                                          $ $87,200.61
            Home Depot Credit Services
            Attn: Officer, Mgr or Agent                              As of the date you file, the claim is: Check all that apply
            P.O. Box 790345                                                  Contingent
            Saint Louis, MO 63179                                             Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 6                                                                   What is the nature of the claim?                                          $ $65,167.21
            Wells Fargo Direct

B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 2

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 Debtor 1          Robert W. Steele, II                                                             Case number (if known)

            Attn: Officer, Mgr. or Agent                             As of the date you file, the claim is: Check all that apply
            P.O. Box 29482                                                   Contingent
            Phoenix, AZ 85038                                                 Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?                                          $ $57,171.00
            Garris Evans Lumber
            Attn: Manager or Agent                                   As of the date you file, the claim is: Check all that apply
            P.O. Box 2548                                                    Contingent
            Greenville, NC 27836                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?                                          $ $55,000.00
            First Bank
            Attn: Officer, Mgr. or Agent                             As of the date you file, the claim is: Check all that apply
            P.O. Box 925                                                     Contingent
            Troy, NC 27371                                                   Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?                                          $ $53,000.00
            American Express
            Attn: Manager or Agent                                   As of the date you file, the claim is: Check all that apply
            P.O. Box 981535                                                  Contingent
            El Paso, TX 79998-1535                                            Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$



B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 3

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         Case 17-03844-5-JNC                          Doc 1 Filed 08/04/17 Entered 08/04/17 16:58:52                                           Page 12 of 80


 Debtor 1          Robert W. Steele, II                                                             Case number (if known)

            Contact phone                                                           Unsecured claim                                    $


 10                                                                  What is the nature of the claim?                                          $ $51,159.43
            Business Card Services
            Attn: Officer, Mgr. or Agent                             As of the date you file, the claim is: Check all that apply
            P.O. Box 84030                                                   Contingent
            Columbus, GA 31908-4030                                           Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 11                                                                  What is the nature of the claim?                                          $ $40,692.11
            Wells Fargo
            Attn: Officer, Mgr. or Agt                               As of the date you file, the claim is: Check all that apply
            P.O. Box 29482                                                   Contingent
            Phoenix, AZ 85038-8650                                            Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 12                                                                  What is the nature of the claim?              Guaranty of corporate       $ $34,278.38
                                                                                                                   debt
            Greenville Ready Mix
            Attn: Manager or Agent                                   As of the date you file, the claim is: Check all that apply
            P.O. Box 890322                                                  Contingent
            Charlotte, NC 28289-0322                                          Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 13                                                                  What is the nature of the claim?                                          $ $27,701.02
            Capital One Card Services
            Attn: Officer, Mgr. or Agent                             As of the date you file, the claim is: Check all that apply
            P.O. Box 9600                                                    Contingent
            Carol Stream, IL 60128                                            Unliquidated
                                                                              Disputed
                                                                              None of the above apply



B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 4

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 Debtor 1          Robert W. Steele, II                                                             Case number (if known)


                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 14                                                                  What is the nature of the claim?                                          $ $26,374.82
            Celtic Bank
            d/b/a Kabbage                                            As of the date you file, the claim is: Check all that apply
            Attn: Officer, Mgr or Agent                                      Contingent
            P.O. Box 77073                                                    Unliquidated
            Atlanta, GA 30357                                                 Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 15                                                                  What is the nature of the claim?                                          $ $24,317.08
            Capital One Bank
            Attn: Officer, Mgr or Agt.                               As of the date you file, the claim is: Check all that apply
            P.O. Box 71083                                                   Contingent
            Charlotte, NC 28272                                               Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 16                                                                  What is the nature of the claim?                                          $ $24,269.30
            BB&T
            ATTN: Jack R. Hayes                                      As of the date you file, the claim is: Check all that apply
            PO Box 1847                                                      Contingent
            Wilson, NC 27894-1847                                             Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 17                                                                  What is the nature of the claim?                                          $ $23,451.00
            Luther Starling
            Atty for E.G.S., Inc.

B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 5

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 Debtor 1          Robert W. Steele, II                                                             Case number (if known)

            P.O. Drawer 1960                                         As of the date you file, the claim is: Check all that apply
            Smithfield, NC 27577                                             Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 18                                                                  What is the nature of the claim?              Guaranty of corporate       $ $17,197.41
                                                                                                                   debt
            ProBuild East, LLC
            Attn: Manager or Agent                                   As of the date you file, the claim is: Check all that apply
            P.O. Drawer 2088                                                 Contingent
            Wilmington, NC 28402                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 19                                                                  What is the nature of the claim?                                          $ $16,392.61
            Corporate Turnaround
            Attn: Manager or Agent                                   As of the date you file, the claim is: Check all that apply
            95 North Route 17, Ste 310                                       Contingent
            Paramus, NJ 07652                                                 Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 20                                                                  What is the nature of the claim?                                          $ $16,000.00
            Kitchen and Lighting
            Attn: Manager or Agent                                   As of the date you file, the claim is: Check all that apply
            141Williamsburg Pkwy.                                            Contingent
            Jacksonville, NC 28546                                            Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 6

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 Debtor 1          Robert W. Steele, II                                                             Case number (if known)

                                                                                   Value of security:                                -$
            Contact phone                                                          Unsecured claim                                    $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Robert W. Steele, II                                                         X
       Robert W. Steele, II                                                                 Signature of Debtor 2
       Signature of Debtor 1


       Date      August 4, 2017                                                             Date




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      Page 7

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          Case 17-03844-5-JNC                              Doc 1 Filed 08/04/17 Entered 08/04/17 16:58:52                                                        Page 16 of 80
 Fill in this information to identify your case:

 Debtor 1                   Robert W. Steele, II
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name

                                                          EASTERN DISTRICT OF NORTH CAROLINA - NEW BERN
 United States Bankruptcy Court for the:                  DIVISION

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................    $            730,670.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................         $            160,828.07

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................    $            891,498.07

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                     $            722,263.84

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                           $                     0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                             $         1,585,666.03


                                                                                                                                     Your total liabilities $             2,307,929.87


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................              $               4,720.12

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                          $               4,488.11

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
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        Case 17-03844-5-JNC                           Doc 1 Filed 08/04/17 Entered 08/04/17 16:58:52                            Page 17 of 80
 Debtor 1      Robert W. Steele, II                                                       Case number (if known)
             the court with your other schedules.

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
          Case 17-03844-5-JNC                                   Doc 1 Filed 08/04/17 Entered 08/04/17 16:58:52                                              Page 18 of 80
 Fill in this information to identify your case and this filing:

 Debtor 1                    Robert W. Steele, II
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name

                                                              EASTERN DISTRICT OF NORTH CAROLINA - NEW BERN
 United States Bankruptcy Court for the:                      DIVISION

 Case number                                                                                                                                                      Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                      12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        201 St Charles Lane                                                            Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the        Current value of the
        Jacksonville                      NC        28546-0000                         Land                                       entire property?            portion you own?
        City                              State              ZIP Code                  Investment property                               $355,150.00                 $355,150.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Onslow                                                                         Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Lot 25 Eastgate, Parcel #073566




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1        Robert W. Steele, II                                                                                   Case number (if known)

       If you own or have more than one, list here:
 1.2                                                                   What is the property? Check all that apply
       218 Raven Ridge Ct.                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the        Current value of the
       Swansboro                         NC        28584-0000                 Land                                            entire property?            portion you own?
       City                              State              ZIP Code          Investment property                                    $200,520.00                 $200,520.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Onslow                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Lot 18 Raven Ridge S/D, parcel #063064


       If you own or have more than one, list here:
 1.3                                                                   What is the property? Check all that apply
       122 Brenda Drive and                                                   Single-family home                              Do not deduct secured claims or exemptions. Put
       133 Brenda Drive                                                       Duplex or multi-unit building                   the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                     Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the        Current value of the
       Jacksonville                      NC        28546-0000                 Land                                            entire property?            portion you own?
       City                              State              ZIP Code          Investment property                                    $125,000.00                 $125,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Onslow                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       122-Lot 12 Branchwood Townhouses, Parcel #038882 (value-$65,000); 133-Lot
                                                                       17 Branchwood Townhouses, Parcel #038882 (value-$60,000)




Official Form 106A/B                                                      Schedule A/B: Property                                                                           page 2
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 Debtor 1         Robert W. Steele, II                                                                                          Case number (if known)

        If you own or have more than one, list here:
 1.4                                                                         What is the property? Check all that apply
        135 Brenda Drive                                                              Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the        Current value of the
        Jacksonville                      NC        28546-0000                        Land                                            entire property?            portion you own?
        City                              State              ZIP Code                 Investment property                                      $50,000.00                  $50,000.00
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                      Debtor 1 only                                   Fee simple
        Onslow                                                                        Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             Lot 18, Branchwood Townhouses, Parcel #038897


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                           $730,670.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:     Ford                                                Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:    F-150 LGT Convtnl Truck                                Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:     2015                                                   Debtor 2 only                                               Current value of the       Current value of the
          Approximate mileage:      30,250                                 Debtor 1 and Debtor 2 only                                  entire property?           portion you own?
          Other information:                                               At least one of the debtors and another
         VIN 95923 (Co-owned with RSI,
         Inc.)                                                             Check if this is community property                                 $40,000.00                  $20,000.00
                                                                           (see instructions)



  3.2     Make:     Ford                                                Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                    F-250 SRW Super Duty                                                                                               the amount of any secured claims on Schedule D:
          Model:    Truck                                                  Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:     2016                                                   Debtor 2 only                                               Current value of the       Current value of the
          Approximate mileage:     31,556                                  Debtor 1 and Debtor 2 only                                  entire property?           portion you own?
          Other information:                                               At least one of the debtors and another
         VIN 00797 (Co-owned with RSI,
         Inc.)                                                             Check if this is community property                                 $25,000.00                  $12,500.00
                                                                           (see instructions)




Official Form 106A/B                                                             Schedule A/B: Property                                                                            page 3
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 Debtor 1        Robert W. Steele, II                                                                               Case number (if known)


  3.3    Make:     Ford                                        Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:    F-150 LGT Convtnl Truck                           Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:     2016                                              Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:      32,000                            Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         VIN 07944 (co-owned with RSI,
         Inc.)                                                       Check if this is community property                              $24,000.00                 $12,000.00
                                                                     (see instructions)



  3.4    Make:       LDTL Utility Trailer                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:                                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2013                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         VIN ending in 43937
                                                                     Check if this is community property                                  $750.00                    $750.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:       Cedar Creek                               Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      5th wheel                                       Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2015                                            Debtor 2 only                                            Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                             $20,000.00                  $20,000.00
                                                                     (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $65,250.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                    Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Living room furniture, Dining Room set, 1-bedroom suite, dishes,
                                    flatware, cookware                                                                                                              $3,200.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    7-TVs ($3,500), Apple Ipad ($200), Apple Iphone ($200)                                                                          $3,900.00



Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 4
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 Debtor 1       Robert W. Steele, II                                                                Case number (if known)

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    4-Bronze mermaid statues                                                                                     $6,000.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Bowflex Max                                                                                                    $350.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                    2-handguns                                                                                                     $500.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Everyday clothes, shoes                                                                                        $250.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    3-Breitlng watches ($2,750.00); Diamond engagement ring ($8,000);
                                    2-gold chains ($1,250.00)                                                                                  $12,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                    Labrador Retriever - yellow                                                                                        $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                     $26,200.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                       Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.
Official Form 106A/B                                                 Schedule A/B: Property                                                          page 5
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 Debtor 1         Robert W. Steele, II                                                                                          Case number (if known)


16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                   Cash, coins                        $678.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                          Checking account
                                              17.1.       ending in 4532                          Marine Federal Credit Union                                       $3,068.30


                                                          Checking account
                                              17.2.       ending in 1339                          The Little Bank                                                     $616.78


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................        Institution or issuer name:


                                                        E-Trade Account ending in 7237                                                                              $3,941.63


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                               % of ownership:

                                                  Hatco, Inc.                                                                          50          %              $17,500.00


                                                  R S I, Inc.                                                                         100          %                      $0.00


                                                  RWS Builders, Inc.                                                                  100          %              $25,000.00


                                                  BRTB, Inc. (will be dissolved)                                                      100          %                      $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
Official Form 106A/B                                                                       Schedule A/B: Property                                                        page 6
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 Debtor 1         Robert W. Steele, II                                                                        Case number (if known)

        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                       Beneficiary:                           Surrender or refund
                                                                                                                                            value:

                                            Shenandoah Life Insurance Company                        Robert Steele (father)
                                                                                                     and Geri Steele (mother)                           $7,600.00


                                            Southern Farm Bureau Life Insurance
                                            Company, policy ending in 0288L                          Robert Steele (father)                             $8,473.66




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 7
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 Debtor 1        Robert W. Steele, II                                                                                            Case number (if known)


                                             Southern Farm Bureau Life Insurance                                      Robert Steele (father),
                                             Company, policy ending in 8579L                                          assignee is Robert
                                                                                                                      Dillingham, creditor                                     $199.70


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
        Yes. Describe each claim.........

                                                          Consumer rights claims: Debtor reserves the right to pursue and
                                                          claim as exempt any consumer rights claim or cause of action he
                                                          may have, known or unknown at the time of filing of the Petition,
                                                          against any creditor and/or debt collector for any alleged violation
                                                          of any consumer protection law, including (without limitation) any
                                                          violation of the FDCPA or other applicable state or federal
                                                          consumer protection law. See attachment to Schedule C-1.                                                            Unknown


35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................           $67,078.07


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.

       Yes. Go to line 38.


                                                                                                                                                                Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.

38. Accounts receivable or commissions you already earned
        No
        Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
      No
        Yes. Describe.....


                                        Desk                                                                                                                                   $300.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                             page 8
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 Debtor 1        Robert W. Steele, II                                                                                            Case number (if known)


                                        I-mac computer                                                                                                                      $500.00


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
        Yes. Describe.....


                                        Misc. hand tools                                                                                                                  $1,500.00


41. Inventory
        No
        Yes. Describe.....


42. Interests in partnerships or joint ventures
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                 % of ownership:


43. Customer lists, mailing lists, or other compilations
       No.
       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                  No
                  Yes. Describe.....


44. Any business-related property you did not already list
        No
        Yes. Give specific information.........



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................          $2,300.00

 Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                  $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                          page 9
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 Debtor 1         Robert W. Steele, II                                                                                                  Case number (if known)

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $730,670.00
 56. Part 2: Total vehicles, line 5                                                                           $65,250.00
 57. Part 3: Total personal and household items, line 15                                                      $26,200.00
 58. Part 4: Total financial assets, line 36                                                                  $67,078.07
 59. Part 5: Total business-related property, line 45                                                          $2,300.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $160,828.07               Copy personal property total           $160,828.07

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                         $891,498.07




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 10
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Rev. 3/2016
                                                           UNITED STATES BANKRUPTCY COURT
                                                 EASTERN DISTRICT OF NORTH CAROLINA - NEW BERN DIVISION

 IN THE MATTER OF:                                                                                                   CASE NUMBER:
 Robert W. Steele, II
             Debtor(s).


                                                           SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

          I,   Robert W. Steele, II    , claim the following property as exempt pursuant to 11 U.S.C. § 522 and the laws of the State of North
Carolina, and nonbankruptcy Federal law: (Attach additional sheets if necessary).

           1. NCGS 1C-1601(a)(1) (NC Const., Article X, Section 2) REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT
(The exemption is not to exceed $35,000; however, an unmarried debtor who is 65 years of age or older is entitled to retain an aggregate interest in the
property not to exceed $60,000 in value so long as the property was previously owned by the debtor as a tenant by the entireties or as a joint tenant with
rights of survivorship and the former co-owner of the property is deceased, in which case the debtor must specify his/her age and the name of the former
co-owner, if a child use initials only, of the property below).

                                               Owner
                                               (D1)Debtor 1                                 Amount of
 Description of Property                Market (D2)Debtor 2 Mortgage Holder                 Mortgage                 Net       Value Claimed as Exempt
 and Address                             Value (J)Joint     or Lien Holder                    or Lien              Value Pursuant to NCGS 1C-1601(a)(1)
 201 St Charles Lane             355,150.00                          Quicken Loans, Inc.   306,000.00        49,150.00                         30,000.00
 Jacksonville, NC
 28546 Onslow
 County
 Lot 25 Eastgate,
 Parcel #073566

 Debtor's Age:
 Name of former co-owner:

                                               VALUE OF REAL ESTATE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(1): $                        30,000.00

            2. NCGS 1C-1601(a)(3) MOTOR VEHICLE (The exemption in one vehicle is not to exceed $3,500).

                                               Owner
                                               (D1)Debtor 1
 Model, Year                            Market (D2)Debtor 2                                 Amount of                Net       Value Claimed as Exempt
 Style of Auto                           Value (J)Joint     Lien Holder                         Lien               Value Pursuant to NCGS 1C-1601(a)(3)
 2015 Ford F-150                   40,000.00                         TD Auto Finance        39,516.77          241.62                              241.62
 LGT Convtnl Truck                                                                                         50% owned
 30,250 miles
 VIN 95923
 (Co-owned with RSI,
 Inc.)

                                           VALUE OF MOTOR VEHICLE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(3): $                              241.62

         3. NCGS 1C-1601(a)(4) (NC Const., Article X, Section 1) PERSONAL OR HOUSEHOLD GOODS (The debtor's aggregate interest is not to
exceed $5,000 plus $1,000 for each dependent of the debtor, not to exceed $4,000 total for dependents). The number of dependents for exemption
purposes is 0 .

                                                        Owner
                                                        (D1)Debtor 1                                                                  Claimed as Exempt
 Description                                     Market (D2)Debtor 2        Lien                        Amount                  Net    Pursuant to NCGS
 of Property                                      Value (J)Joint            Holder                       of Lien              Value        1C-1601(a)(4)
 7-TVs ($3,500), Apple
 Ipad ($200), Apple
 Iphone ($200)                                3,900.00                                                                    3,900.00               1,800.00
 Living room furniture,
 Dining Room set,
 1-bedroom suite,
 dishes, flatware,
 cookware                                     3,200.00                                                                    3,200.00               3,200.00

                                                                      VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(4): $                  5,000.00

Schedule C-1 - Property Claimed as Exempt - 3/2016
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            4. NCGS 1C-1601(a)(5) TOOLS OF TRADE (The debtor's aggregate interest is not to exceed $2,000 in value).

                                               Owner
                                               (D1)Debtor 1
                                        Market (D2)Debtor 2 Lien                              Amount of            Net       Value Claimed as Exempt
 Description                             Value (J)Joint     Holder                                Lien           Value Pursuant to NCGS 1C-1601(a)(5)
 2013 LDTL Utility                     750.00                                                                  750.00                               500.00
 Trailer
 VIN ending in 43937
 Misc. hand tools                   1,500.00                                                                 1,500.00                             1,500.00

                                                                     VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(5): $                    2,000.00

            5. NCGS 1C-1601(a)(6) LIFE INSURANCE (NC Const., Article X, Section 5).

                                                                                                                                                       Cash
 Description\Insured\Last Four Digits of Policy Number\Beneficiary(if child, initials only)                                                            Value
 -NONE-

            6. NCGS 1C-1601(a)(7) PROFESSIONALLY PRESCRIBED HEALTH AIDS (For Debtor or Debtor's Dependents, no limit on value).

 Description
 -NONE-

        7. NCGS 1C-1601(a)(8) COMPENSATION FOR PERSONAL INJURY, INCLUDING COMPENSATION FROM PRIVATE DISABILITY
POLICIES OR ANNUITIES, OR COMPENSATION FOR DEATH OF A PERSON UPON WHOM THE DEBTOR WAS DEPENDENT FOR SUPPORT.
COMPENSATION NOT EXEMPT FROM RELATED LEGAL, HEALTH OR FUNERAL EXPENSE.

 Description AND Source of Compensation, Including Name (If child, initials only) & Last Four Digits of Account Number of any Disability Policy/Annuity
 -NONE-

         8. NCGS 1C-1601(a)(2) ANY PROPERTY (Debtor's aggregate interest in any property is not to exceed $5,000 in value of any unused
exemption amount to which the debtor is entitled under NCGS 1C-1601(a)(1)).

                                               Owner
                                               (D1)Debtor 1
 Description of Property                Market (D2)Debtor 2 Lien                                Amount             Net       Value Claimed as Exempt
 and Address                             Value (J)Joint     Holder                               of Lien         Value Pursuant to NCGS 1C-1601(a)(2)
 Southern Farm                      8,473.66                                                                 8,473.66                             5,000.00
 Bureau Life
 Insurance Company,
 policy ending in
 0288L
 Beneficiary: Robert
 Steele (father)

                                                                     VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(2): $                    5,000.00

          9. NCGS 1C-1601(a)(9) and 11 U.S.C. § 522 INDIVIDUAL RETIREMENT PLANS & RETIREMENT FUNDS, as defined in the Internal
Revenue Code, and any plan treated in the same manner as an individual retirement plan, including individual retirement accounts and Roth retirement
accounts as described in §§ 408(a) and 408A of the Internal Revenue Code, individual retirement annuities as described in § 408(b) of the Internal
Revenue Code, accounts established as part of a trust described in § 408(c) of the Internal Revenue Code, and funds in an account exempt from
taxation under § 401, 403, 408, 408A, 414, 457, or 510(a) of the Internal Revenue Code. For purposes of this subdivision, "Internal Revenue Code"
means Code as defined in G.S. 105-228.90.

 Type of Account\Location of Account\Last Four Digits of Account Number
 -NONE-

           10. NCGS 1C-1601(a)(10) FUNDS IN A COLLEGE SAVINGS PLAN, as qualified under § 529 of the Internal Revenue Code, and that are not
otherwise excluded from the estate pursuant to 11 U.S.C. §§ 541(b)(5)-(6), (e), not to exceed a cumulative limit of $25,000. If funds were placed in a
college savings plan within the 12 months prior to filing, the contributions must have been made in the ordinary course of the debtor's financial affairs
and must have been consistent with the debtor's past pattern of contributions. The exemption applies to funds for a child of the debtor that will actually be
used for the child's college or university expenses.

 College Savings Plan\Last Four Digits of Account Number\Value\Initials of Child Beneficiary

Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                    Page 2
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 College Savings Plan\Last Four Digits of Account Number\Value\Initials of Child Beneficiary
 -NONE-

        11. NCGS 1C-1601(a)(11) RETIREMENT BENEFITS UNDER THE RETIREMENT PLANS OF OTHER STATES AND GOVERNMENTAL
UNITS OF OTHER STATES (The debtor's interest is exempt only to the extent that these benefits are exempt under the laws of the state or
governmental unit under which the benefit plan is established).

 Name of Retirement Plan\State Governmental Unit\Last Four Digits of Identifying Number
 -NONE-

         12. NCGS 1C-1601(a)(12) ALIMONY, SUPPORT, SEPARATE MAINTENANCE, AND CHILD SUPPORT PAYMENTS OR FUNDS THAT
HAVE BEEN RECEIVED OR TO WHICH THE DEBTOR IS ENTITLED (The debtor's interest is exempt to the extent the payments or funds are
reasonably necessary for the support of the debtor or any dependent of the debtor).

 Type of Support\Amount\Location of Funds
 -NONE-

         13. TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. § 522 and the law of the State of
North Carolina pertaining to property held as tenants by the entirety.

 Description of                                 Market Lien                                                           Amount                                  Net
 Property and Address                            Value Holder                                                          of Lien                              Value
 -NONE-

                                                                                                      VALUE CLAIMED AS EXEMPT: $                             0.00

            14. NORTH CAROLINA PENSION FUND EXEMPTIONS

           -NONE-

            15. OTHER EXEMPTIONS CLAIMED UNDER LAWS OF THE STATE OF NORTH CAROLINA

           Debtor earnings necessary to support family (all earnings from last 60 days), N.C. Gen. Stat. §
 a.        1-362                                                                                                                                         678.00
           Debtor earnings necessary to support family (all earnings from last 60 days), N.C. Gen. Stat. §
 b.        1-362                                                                                                                                       3,068.30
           Debtor earnings necessary to support family (all earnings from last 60 days), N.C. Gen. Stat. §
 c.        1-362                                                                                                                                         616.78


            16. FEDERAL PENSION FUND EXEMPTIONS

           -NONE-

            17. OTHER EXEMPTIONS CLAIMED UNDER NONBANKRUPTCY FEDERAL LAW

           -NONE-

            18. RECENT PURCHASES

            (a). List tangible personal property purchased by the debtor within ninety (90) days of the filing of the bankruptcy petition.

                                                                       Market Lien                                                   Amount                   Net
 Description                                                            Value Holder                                                  of Lien               Value
 -NONE-

          (b). List any tangible personal property from 18(a) that is directly traceable to the liquidation or conversion of property that may be exempt and
that was not acquired by transferring or using additional property.

 Description of Replacement Property                                 Description of Property Liquidated or Converted that May Be Exempt




Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                         Page 3
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            19. The debtor's property is subject to the following claims:

 a.          Of the United States or its agencies as provided by federal law.
 b.          Of the State of North Carolina or its subdivisions for taxes, appearance bonds or fiduciary bonds;
 c.          Of a lien by a laborer for work done and performed for the person claiming the exemption, but only as to the specific property affected.
 d.          Of a lien by a mechanic for work done on the premises, but only as to the specific property affected.
 e.          For payment of obligations contracted for the purchase of specific real property affected.
 f.          For contractual security interests in specific property affected; provided, that the exemptions shall apply to the debtor's household goods
             notwithstanding any contract for a nonpossessory, nonpurchase money security interest in any such goods.
 g.          For statutory liens, on the specific property affected, other than judicial liens.
 h.          For child support, alimony or distributive award order pursuant to Chapter 50 of the General Statutes of North Carolina.
 i.          For criminal restitution orders docketed as civil judgments pursuant to G.S. 15A-1340.38.
 j.          Debts of a kind specified in 11 U.S.C. § 523(a)(1) (certain taxes), (5) (domestic support obligations).
 k.          Debts of a kind specified in 11 U.S.C. § 522(c).

                                         Nature of                          Amount of Description of                                  Value                 Net
 Claimant                                Claim                                 Claim Property                                    of Property              Value
                                                                                        135 Brenda Drive
                                                                                        Jacksonville, NC 28546
                                                                                        Onslow County
                                                                                        Lot 18, Branchwood
                                                                                        Townhouses, Parcel
 First Bank                              Deed of Trust                    63,000.00     #038897                                  50,000.00                 0.00
                                                                                        2015 Cedar Creek 5th
 Farm Bureau Bank                        lien on title                      8,200.00    wheel                                    20,000.00          11,800.00
                                                                                        2016 Ford F-150 LGT
                                                                                        Convtnl Truck 32,000 miles
                                                                                        VIN 07944 (co-owned with                                     340.14
 TD Auto Finance                         Lien on title                    23,319.73     RSI, Inc.)                               24,000.00       50% owned
                                                                                        2016 Ford F-250 SRW
                                                                                        Super Duty Truck 31,556
                                                                                        miles
                                                                                        VIN 00797 (Co-owned with                                       0.00
 TD Auto Finance                         Lien on title                    28,227.34     RSI, Inc.)                               25,000.00       50% owned
                                                                                        218 Raven Ridge Ct.
                                                                                        Swansboro, NC 28584
                                                                                        Onslow County
                                                                                        Lot 18 Raven Ridge S/D,
 Wells Fargo Mortgage                    1st Mortgage                   180,000.00      parcel #063064                          200,520.00          20,520.00


         None of the property listed in paragraph 18(a), except qualified replacement property under 18(b), has been included in this claim of
exemptions.


            None of the claims listed in paragraph 19 is subject to this claim of exemptions.


          I declare that to the extent any exemptions I have claimed appear on its face to exceed the amount allowed by the applicable statute, I claim
only the maximum amount allowed by statute.


                                    UNSWORN DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF INDIVIDUAL
                                               TO SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

          I,    Robert W. Steele, II       , declare under penalty of perjury that I have read the foregoing Schedule C-1 - Property Claimed as Exempt,
consisting of 4 sheets, and that they are true and correct to the best of my knowledge, information and belief.




 Executed on: August 4, 2017                                                        /s/ Robert W. Steele, II
                                                                                    Robert W. Steele, II
                                                                                                                       Debtor



Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                        Page 4
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          Case 17-03844-5-JNC                         Doc 1 Filed 08/04/17 Entered 08/04/17 16:58:52                                            Page 33 of 80
 Fill in this information to identify your case:

 Debtor 1                   Robert W. Steele, II
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name

                                                      EASTERN DISTRICT OF NORTH CAROLINA - NEW BERN
 United States Bankruptcy Court for the:              DIVISION

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Farm Bureau Bank                         Describe the property that secures the claim:                   $8,200.00              $20,000.00                     $0.00
         Creditor's Name                          2015 Cedar Creek 5th wheel

         Attn: Manager or Agent
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 33427                           apply.
         San Antonio, TX 78265                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   lien on title
       community debt

 Date debt was incurred          9/28/2014                 Last 4 digits of account number        3517

 2.2     First Bank                               Describe the property that secures the claim:                 $63,000.00               $50,000.00           $13,000.00
         Creditor's Name                          135 Brenda Drive Jacksonville, NC
                                                  28546 Onslow County
                                                  Lot 18, Branchwood Townhouses,
         Attn: Officer, Mgr. or Agent             Parcel #038897
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 925                             apply.
         Troy, NC 27371                               Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Deed of Trust
       community debt



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 4
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 Debtor 1 Robert W. Steele, II                                                                                Case number (if know)
               First Name                  Middle Name                      Last Name


 Date debt was incurred                                      Last 4 digits of account number


 2.3     First National Bank                        Describe the property that secures the claim:                   $74,000.00        $125,000.00             $0.00
         Creditor's Name                            122 Brenda Drive (value $65,000) and
                                                    133 Brenda Drive (value $60,000),
         Attn: Officer, Mgr. or Agt.                Jacksonville, NC
                                                    As of the date you file, the claim is: Check all that
         4140 E. State Street                       apply.
         Hermitage, PA 16148                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   1st Mortgage
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.4     Quicken Loans, Inc.                        Describe the property that secures the claim:                  $306,000.00        $355,150.00             $0.00
         Creditor's Name                            201 St Charles Lane Jacksonville, NC
                                                    28546 Onslow County
         Attn: Officer, Mgr or Agt                  Lot 25 Eastgate, Parcel #073566
                                                    As of the date you file, the claim is: Check all that
         1050 Woodward Ave.                         apply.
         Detroit, MI 48226                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   1st Mortgage
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.5     TD Auto Finance                            Describe the property that secures the claim:                   $28,227.34         $25,000.00       $3,227.34
         Creditor's Name                            2016 Ford F-250 SRW Super Duty
                                                    Truck 31,556 miles
         Attn: Manager or Agent                     VIN 00797 (Co-owned with RSI, Inc.)
                                                    As of the date you file, the claim is: Check all that
         PO Box 9001921                             apply.
         Louisville, KY 40290                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Lien on title
       community debt

 Date debt was incurred          7/27/2015                   Last 4 digits of account number         3510

 2.6     TD Auto Finance                            Describe the property that secures the claim:                   $39,516.77         $40,000.00             $0.00

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 4
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 Debtor 1 Robert W. Steele, II                                                                                Case number (if know)
               First Name                  Middle Name                      Last Name


         Creditor's Name                            2015 Ford F-150 LGT Convtnl Truck
                                                    30,250 miles
         Attn: Manager or Agent                     VIN 95923 (Co-owned with RSI, Inc.)
                                                    As of the date you file, the claim is: Check all that
         PO Box 9001921                             apply.
         Louisville, KY 40290                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Lien on title
       community debt

 Date debt was incurred          4/29/2015                   Last 4 digits of account number         6748

 2.7     TD Auto Finance                            Describe the property that secures the claim:                   $23,319.73            $24,000.00             $0.00
         Creditor's Name                            2016 Ford F-150 LGT Convtnl Truck
                                                    32,000 miles
         Attn: Manager or Agent                     VIN 07944 (co-owned with RSI, Inc.)
                                                    As of the date you file, the claim is: Check all that
         PO Box 9001921                             apply.
         Louisville, KY 40290                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Lien on title
       community debt

 Date debt was incurred          5/11/2016                   Last 4 digits of account number         9344

 2.8     Wells Fargo Mortgage                       Describe the property that secures the claim:                  $180,000.00           $200,520.00             $0.00
         Creditor's Name                            218 Raven Ridge Ct. Swansboro, NC
                                                    28584 Onslow County
         Attn.: Officer, Mrg or Agt                 Lot 18 Raven Ridge S/D, parcel
         P.O. Box 14411                             #063064
                                                    As of the date you file, the claim is: Check all that
         Des Moines, IA                             apply.
         50306-3411                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   1st Mortgage
       community debt

 Date debt was incurred                                      Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                  $722,263.84
   If this is the last page of your form, add the dollar value totals from all pages.                                      $722,263.84

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 3 of 4
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 Debtor 1 Robert W. Steele, II                                                                    Case number (if know)
              First Name                Middle Name                  Last Name


   Write that number here:

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 4 of 4
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 Fill in this information to identify your case:

 Debtor 1                   Robert W. Steele, II
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                       Last Name

                                                      EASTERN DISTRICT OF NORTH CAROLINA - NEW BERN
 United States Bankruptcy Court for the:              DIVISION

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          American Express                                        Last 4 digits of account number         4008                                                      $53,000.00
              Nonpriority Creditor's Name
              Attn: Manager or Agent                                  When was the debt incurred?
              P.O. Box 981535
              El Paso, TX 79998-1535
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                           Contingent
                  Debtor 2 only                                           Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                     Other. Specify




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 12
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 Debtor 1 Robert W. Steele, II                                                                            Case number (if know)

 4.2      Applied Resource Management                                Last 4 digits of account number                                                        $4,000.00
          Nonpriority Creditor's Name
          Attn: Manager or Agent                                     When was the debt incurred?
          257 Transfer Station Road
          Hampstead, NC 28443
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3      Barclays Bank Card Svcs.                                   Last 4 digits of account number       1324                                           $13,830.34
          Nonpriority Creditor's Name
          Attn: Officer, Mgr. or Agt                                 When was the debt incurred?
          P.O. Box 13337
          Philadelphia, PA 19101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4      BB&T                                                       Last 4 digits of account number       1286                                           $24,269.30
          Nonpriority Creditor's Name
          ATTN: Jack R. Hayes                                        When was the debt incurred?
          PO Box 1847
          Wilson, NC 27894-1847
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 12
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 Debtor 1 Robert W. Steele, II                                                                            Case number (if know)

 4.5      Business Card Services                                     Last 4 digits of account number       4005                                           $51,159.43
          Nonpriority Creditor's Name
          Attn: Officer, Mgr. or Agent                               When was the debt incurred?
          P.O. Box 84030
          Columbus, GA 31908-4030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.6      Capital One Bank                                           Last 4 digits of account number       6770                                           $10,654.56
          Nonpriority Creditor's Name
          Attn: Officer, Mgr. or Agent                               When was the debt incurred?
          P.O. Box 71083
          Charlotte, NC 28272
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.7      Capital One Bank                                           Last 4 digits of account number       1298                                           $24,317.08
          Nonpriority Creditor's Name
          Attn: Officer, Mgr or Agt.                                 When was the debt incurred?
          P.O. Box 71083
          Charlotte, NC 28272
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 12
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 Debtor 1 Robert W. Steele, II                                                                            Case number (if know)

 4.8      Capital One Card Services                                  Last 4 digits of account number       9848                                           $27,701.02
          Nonpriority Creditor's Name
          Attn: Officer, Mgr. or Agent                               When was the debt incurred?
          P.O. Box 9600
          Carol Stream, IL 60128
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.9      Celtic Bank                                                Last 4 digits of account number                                                      $26,374.82
          Nonpriority Creditor's Name
          d/b/a Kabbage                                              When was the debt incurred?
          Attn: Officer, Mgr or Agent
          P.O. Box 77073
          Atlanta, GA 30357
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 0        Community Lumber Company                                   Last 4 digits of account number                                                        $3,055.00
          Nonpriority Creditor's Name
          Attn: Manager or Agent                                     When was the debt incurred?
          P.O. Box 796
          Swansboro, NC 28584
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 12
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 Debtor 1 Robert W. Steele, II                                                                            Case number (if know)

 4.1
 1        Corporate Turnaround                                       Last 4 digits of account number                                                      $16,392.61
          Nonpriority Creditor's Name
          Attn: Manager or Agent                                     When was the debt incurred?
          95 North Route 17, Ste 310
          Paramus, NJ 07652
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 2        Robert Dillingham                                          Last 4 digits of account number                                                     $265,000.00
          Nonpriority Creditor's Name
          P.O. Box 116                                               When was the debt incurred?
          Jacksonville, NC 28541
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty of debt owed by RWS Builders, Inc.
                                                                                         (Assignee on Southern Farm Bureau Life
              Yes                                                       Other. Specify   Insurance Policy ending in 8579L)

 4.1
 3        East Hardwood Company                                      Last 4 digits of account number                                                     $128,154.00
          Nonpriority Creditor's Name
          Attn: Manager or Agent                                     When was the debt incurred?
          200 Williamsburg Parkway
          Jacksonville, NC 28546
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 12
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 Debtor 1 Robert W. Steele, II                                                                            Case number (if know)

 4.1
 4        First Bank                                                 Last 4 digits of account number                                                      $55,000.00
          Nonpriority Creditor's Name
          Attn: Officer, Mgr. or Agent                               When was the debt incurred?
          P.O. Box 925
          Troy, NC 27371
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 5        First Bank                                                 Last 4 digits of account number       1796                                             $9,780.84
          Nonpriority Creditor's Name
          Attn: Officer, Mgr. or Agent                               When was the debt incurred?
          P.O. Box 925
          Troy, NC 27371
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 6        FLA Construction                                           Last 4 digits of account number                                                        $4,500.00
          Nonpriority Creditor's Name
          Attn: Manager or Agent                                     When was the debt incurred?
          218 Toni Drive
          Jacksonville, NC 28546
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 12
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 Debtor 1 Robert W. Steele, II                                                                            Case number (if know)

 4.1
 7        Garris Evans Lumber                                        Last 4 digits of account number       0280                                           $57,171.00
          Nonpriority Creditor's Name
          Attn: Manager or Agent                                     When was the debt incurred?
          P.O. Box 2548
          Greenville, NC 27836
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 8        Greenville Ready Mix                                       Last 4 digits of account number       5041                                           $34,278.38
          Nonpriority Creditor's Name
          Attn: Manager or Agent                                     When was the debt incurred?
          P.O. Box 890322
          Charlotte, NC 28289-0322
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of corporate debt


 4.1
 9        Home Depot Credit Services                                 Last 4 digits of account number       2156                                           $87,200.61
          Nonpriority Creditor's Name
          Attn: Officer, Mgr or Agent                                When was the debt incurred?
          P.O. Box 790345
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 12
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 Debtor 1 Robert W. Steele, II                                                                            Case number (if know)

 4.2
 0        Kitchen and Lighting                                       Last 4 digits of account number                                                      $16,000.00
          Nonpriority Creditor's Name
          Attn: Manager or Agent                                     When was the debt incurred?
          141Williamsburg Pkwy.
          Jacksonville, NC 28546
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 1        PNC Bank                                                   Last 4 digits of account number       0817                                             $5,200.00
          Nonpriority Creditor's Name
          Attn: Officer, Mgr. or Agt.                                When was the debt incurred?
          P.O. Box 3429
          Pittsburgh, PA 15230
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 2        PNC Bank Cardmember Svcs.                                  Last 4 digits of account number       5990                                             $9,994.48
          Nonpriority Creditor's Name
          Attn: Officer, Mgr. or Agent                               When was the debt incurred?
          P.O. Box 1423
          Charlotte, NC 28201
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 12
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 Debtor 1 Robert W. Steele, II                                                                            Case number (if know)

 4.2
 3        ProBuild East, LLC                                         Last 4 digits of account number                                                      $17,197.41
          Nonpriority Creditor's Name
          Attn: Manager or Agent                                     When was the debt incurred?
          P.O. Drawer 2088
          Wilmington, NC 28402
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of corporate debt


 4.2
 4        Luther Starling                                            Last 4 digits of account number                                                      $23,451.00
          Nonpriority Creditor's Name
          Atty for E.G.S., Inc.                                      When was the debt incurred?
          P.O. Drawer 1960
          Smithfield, NC 27577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 5        Swift Financial Corporation                                Last 4 digits of account number                                                     $291,074.37
          Nonpriority Creditor's Name
          d/b/a Swift Capital                                        When was the debt incurred?
          Attn: Officer, Mgr or Agent
          3505 Silverside Road
          Wilmington, DE 19810
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 9 of 12
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 Debtor 1 Robert W. Steele, II                                                                            Case number (if know)

 4.2
 6        Synchrony Bank                                             Last 4 digits of account number       2020                                             $9,459.62
          Nonpriority Creditor's Name
          Attn: Officer, Mgr. or Agt.                                When was the debt incurred?
          P.O. Box 960013
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Sam's Club


 4.2
 7        The Stone Gallery                                          Last 4 digits of account number                                                        $1,700.00
          Nonpriority Creditor's Name
          Attn: Manager or Agent                                     When was the debt incurred?
          135 Seth Thomas Lane
          Hubert, NC 28539
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 8        Triangle Plaza, Inc.                                       Last 4 digits of account number                                                     $199,000.00
          Nonpriority Creditor's Name
          Attn: Manager or Agent                                     When was the debt incurred?
          P.O. Box 12951
          New Bern, NC 28561
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of debt owed by R S I, Inc.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 10 of 12
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 Debtor 1 Robert W. Steele, II                                                                            Case number (if know)

 4.2
 9         USAA Savings Bank                                         Last 4 digits of account number       3489                                           $10,890.84
           Nonpriority Creditor's Name
           Attn: Officer, Mgr. or Agent                              When was the debt incurred?
           10750 McDermott Freeway
           San Antonio, TX 78288
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 0         Wells Fargo                                               Last 4 digits of account number       3411                                           $40,692.11
           Nonpriority Creditor's Name
           Attn: Officer, Mgr. or Agt                                When was the debt incurred?
           P.O. Box 29482
           Phoenix, AZ 85038-8650
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 1         Wells Fargo Direct                                        Last 4 digits of account number       2241                                           $65,167.21
           Nonpriority Creditor's Name
           Attn: Officer, Mgr. or Agent                              When was the debt incurred?
           P.O. Box 29482
           Phoenix, AZ 85038
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 11 of 12
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 Debtor 1 Robert W. Steele, II                                                                            Case number (if know)

   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capehart & Scatchard, P.A.                                    Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Sergio I. Scuteri                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 8000 Midlantic Drive
 Suite 300S
 Mount Laurel, NJ 08054
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Daughtry, Woodard, et al                                      Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Luther D. Starling, Esq                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Drawer 1960
 Smithfield, NC 27577-1960
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Marshall, Williams & Gorham                                   Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Charles Meier, Esq.                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Drawer 2088
 Wilmington, NC 28402-2088
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Phillips & Cohen                                              Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 on behalf of Barclays Bank                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Attn: Manager or Agent
 1002 Justinson Street
 Wilmington, DE 19801
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sprouse Law Firm, PLLC                                        Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: James W. Sprouse, Jr.                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 3109 Poplarwood Court
 Ste 115
 Raleigh, NC 27604
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                1,585,666.03

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                1,585,666.03




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 12 of 12
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           Case 17-03844-5-JNC                          Doc 1 Filed 08/04/17 Entered 08/04/17 16:58:52                                Page 49 of 80
 Fill in this information to identify your case:

 Debtor 1                  Robert W. Steele, II
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name

                                                       EASTERN DISTRICT OF NORTH CAROLINA - NEW BERN
 United States Bankruptcy Court for the:               DIVISION

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Beachfront RV Park                                                         Annual lease of camper site
               Attn: Manager or Agent
               100 Eastview Drive
               Emerald Isle, NC 28594

     2.2       Fountain Realty Company, Inc.                                              Management agreement (7% commissions) for rental
               Attn: Manager or Agent                                                     properties located at 218 Raven Ridge Court, 122, 133 and
               99 Marine Boulevard                                                        135 Brenda Drive, Jacksonville, NC 28546
               Jacksonville, NC 28540




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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          Case 17-03844-5-JNC                             Doc 1 Filed 08/04/17 Entered 08/04/17 16:58:52                    Page 50 of 80
 Fill in this information to identify your case:

 Debtor 1                   Robert W. Steele, II
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name

                                                         EASTERN DISTRICT OF NORTH CAROLINA - NEW BERN
 United States Bankruptcy Court for the:                 DIVISION

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         R S I, Inc.                                                                          Schedule D, line
                201 St Charles Lane                                                                  Schedule E/F, line     4.25
                Jacksonville, NC 28546
                                                                                                     Schedule G
                                                                                                   Swift Financial Corporation



    3.2         R S I, Inc.                                                                          Schedule D, line
                201 St Charles Lane                                                                  Schedule E/F, line     4.11
                Jacksonville, NC 28546
                                                                                                     Schedule G
                                                                                                   Corporate Turnaround



    3.3         R S I, Inc.                                                                          Schedule D, line
                201 St Charles Lane                                                                  Schedule E/F, line     4.6
                Jacksonville, NC 28546
                                                                                                     Schedule G
                                                                                                   Capital One Bank




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 5
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 Debtor 1 Robert W. Steele, II                                                       Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                      Column 2: The creditor to whom you owe the debt
                                                                                          Check all schedules that apply:
    3.4      R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line    4.8
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          Capital One Card Services



    3.5      R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line    4.26
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          Synchrony Bank



    3.6      R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line    4.4
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          BB&T



    3.7      R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line    4.7
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          Capital One Bank



    3.8      R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line    4.1
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          American Express



    3.9      R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line    4.31
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          Wells Fargo Direct



    3.10     R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line    4.30
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          Wells Fargo




Official Form 106H                                                    Schedule H: Your Codebtors                                Page 2 of 5
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 Debtor 1 Robert W. Steele, II                                                       Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                      Column 2: The creditor to whom you owe the debt
                                                                                          Check all schedules that apply:
    3.11     R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line    4.9
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          Celtic Bank



    3.12     R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line   4.5
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          Business Card Services



    3.13     R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line   4.19
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          Home Depot Credit Services



    3.14     R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line    4.21
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          PNC Bank



    3.15     R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line 4.13
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          East Hardwood Company



    3.16     R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line    4.17
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          Garris Evans Lumber



    3.17     R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line 4.10
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          Community Lumber Company




Official Form 106H                                                    Schedule H: Your Codebtors                                Page 3 of 5
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 Debtor 1 Robert W. Steele, II                                                       Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                      Column 2: The creditor to whom you owe the debt
                                                                                          Check all schedules that apply:
    3.18     R S I, Inc.                                                                     Schedule D, line
             201 St Charles Lane                                                             Schedule E/F, line   4.20
             Jacksonville, NC 28546
                                                                                             Schedule G
                                                                                          Kitchen and Lighting



    3.19     R S I, Inc.                                                                     Schedule D, line
             201 St Charles Lane                                                             Schedule E/F, line   4.24
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          Luther ~Starling



    3.20     R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line    4.18
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          Greenville Ready Mix



    3.21     R S I, Inc.                                                                     Schedule D, line
             201 St Charles Lane                                                             Schedule E/F, line   4.28
             Jacksonville, NC 28546
                                                                                             Schedule G
                                                                                          Triangle Plaza, Inc.



    3.22     R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line    4.23
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          ProBuild East, LLC



    3.23     R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line    4.16
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          FLA Construction



    3.24     R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line    4.27
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          The Stone Gallery




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 Debtor 1 Robert W. Steele, II                                                       Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                      Column 2: The creditor to whom you owe the debt
                                                                                          Check all schedules that apply:
    3.25     R S I, Inc.                                                                    Schedule D, line
             201 St Charles Lane                                                            Schedule E/F, line  4.2
             Jacksonville, NC 28546
                                                                                            Schedule G
                                                                                          Applied Resource Management



    3.26     RWS Builders, Inc.                                                             Schedule D, line
             P.O. Box 627                                                                   Schedule E/F, line    4.12
             Jacksonville, NC 28541
                                                                                            Schedule G
                                                                                          Robert ~Dillingham




Official Form 106H                                                    Schedule H: Your Codebtors                                Page 5 of 5
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Fill in this information to identify your case:

Debtor 1                      Robert W. Steele, II

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF NORTH CAROLINA -
                                              NEW BERN DIVISION

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            Contractor
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       RWS Builders, Inc.

       Occupation may include student        Employer's address
                                                                   201 St Charles Lane
       or homemaker, if it applies.
                                                                   Jacksonville, NC 28546

                                             How long employed there?         5 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $        6,000.02     $               N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00    +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      6,000.02           $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Robert W. Steele, II                                                                  Case number (if known)



                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      6,000.02       $              N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      2,268.50       $               N/A
      5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $               N/A
      5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $               N/A
      5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $               N/A
      5e.    Insurance                                                                     5e.        $          0.00       $               N/A
      5f.    Domestic support obligations                                                  5f.        $          0.00       $               N/A
      5g.    Union dues                                                                    5g.        $          0.00       $               N/A
      5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          2,268.50       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,731.52       $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $        988.60       $               N/A
      8b. Interest and dividends                                                           8b.        $          0.00       $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $               N/A
      8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
      8e. Social Security                                                                  8e.        $              0.00   $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $               N/A
      8g. Pension or retirement income                                                     8g. $                     0.00   $               N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            988.60       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              4,720.12 + $            N/A = $         4,720.12
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $         4,720.12
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtor will receive an increase in salary to cover mortgages previously paid by company




Official Form 106I                                                     Schedule I: Your Income                                                     page 2
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Fill in this information to identify your case:

Debtor 1                 Robert W. Steele, II                                                              Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF NORTH CAROLINA -                                       MM / DD / YYYY
                                          NEW BERN DIVISION

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            2,694.21

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           200.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             6.25
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Robert W. Steele, II                                                                      Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 225.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  70.07
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 202.90
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                500.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                100.00
10.   Personal care products and services                                                    10. $                                                  85.00
11.   Medical and dental expenses                                                            11. $                                                   0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                   0.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 150.00
14.   Charitable contributions and religious donations                                       14. $                                                 216.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   38.68
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                    0.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       4,488.11
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       4,488.11
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,720.12
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              4,488.11

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 232.01

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Expenses will increase due to Chapter 11 costs (Legal fees, quarterly fees)




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    Robert W. Steele, II
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name

                                                      EASTERN DISTRICT OF NORTH CAROLINA - NEW BERN
 United States Bankruptcy Court for the:              DIVISION

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Robert W. Steele, II                                                  X
              Robert W. Steele, II                                                      Signature of Debtor 2
              Signature of Debtor 1

              Date       August 4, 2017                                                 Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Robert W. Steele, II
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name

                                                      EASTERN DISTRICT OF NORTH CAROLINA - NEW BERN
 United States Bankruptcy Court for the:              DIVISION

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $31,153.95           Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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 Debtor 1      Robert W. Steele, II                                                                        Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income          Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.      (before deductions
                                                                                    exclusions)                                               and exclusions)

 For last calendar year:                              Wages, commissions,                       $60,000.00           Wages, commissions,
 (January 1 to December 31, 2016 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                        $14,772.00           Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                       $59,615.00           Wages, commissions,
 (January 1 to December 31, 2015 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                        $96,934.00           Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income          Gross income
                                                   Describe below.                  each source                    Describe below.            (before deductions
                                                                                    (before deductions and                                    and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Rental real estate                                        $22,483.62
 the date you filed for bankruptcy:

 For last calendar year:                           Rental real estate                           $37,018.00
 (January 1 to December 31, 2016 )


                                                   IRA distribution                             $11,418.00

 For the calendar year before that:                Rental real estate                           $35,875.00
 (January 1 to December 31, 2015 )


                                                   IRA distribution                             $35,000.00


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you

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 Debtor 1      Robert W. Steele, II                                                                        Case number (if known)



                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Quicken Loans, Inc.                                      June, July and                  $8,082.63         $306,000.00         Mortgage
       Attn: Officer, Mgr or Agt                                August, 2017 (3                                                       Car
       1050 Woodward Ave.                                       monthly payments
                                                                                                                                      Credit Card
       Detroit, MI 48226                                        of $2,694.21)
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Stubbs & Perdue, P.A.                                    5/31/2017 -                   $22,000.00                  $0.00       Mortgage
       310 Craven Street                                        $5,000.00                                                             Car
       PO Box 1654                                              7/3/2017 -                                                            Credit Card
       New Bern, NC 28563-1654                                  $17,000.00                                                            Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other Chapter 11 retainer


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name
       See attached Exhibit A                                                                        $0.00                $0.00


 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
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 Debtor 1      Robert W. Steele, II                                                                        Case number (if known)



       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Greenville Ready Mixed Concrete,                         Collection                  Onslow Co. Superior Court                   Pending
       Inc. v. R S I, Inc and Robert Wayne                                                  Jacksonville, NC 28540                      On appeal
       Steele, II
                                                                                                                                        Concluded
       17CVS323

       Swift Financial Corporation d/b/a                        collection                                                              Pending
       Swift Capital v. RSI, Inc. and Robert                                                                                            On appeal
       W. Steele
                                                                                                                                        Concluded
       01-17-0000-0540

       Robert Steele v. Harry and Julie                         collection                  Onslow Co. Magistrate's                     Pending
       Sutton                                                                               Court                                       On appeal
       16 CVM 2345
                                                                                                                                        Concluded

                                                                                                                                     Judgment of $1,322.64
                                                                                                                                     obtained; Paid

       E.G.S., Inc. v. Robert W. Steele, II                     collection                  Onslow County Superior                      Pending
       and R S I, Inc.                                                                      Court                                       On appeal
       17 CVS 2818                                                                          Jacksonville, NC 28540
                                                                                                                                        Concluded


       ProBuild East, LLC v. RSI, Inc. and                      Collection                  New Hanover County District                 Pending
       Robert W. Steele, II                                                                 Court                                       On appeal
       17 CV 002916                                                                         Wilmington, NC
                                                                                                                                        Concluded



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

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 Debtor 1      Robert W. Steele, II                                                                        Case number (if known)



14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                        Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       First Baptist Church                                          Tithes                                                                              $5,200.00
       Jacksonville, NC 28540


 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your        Value of property
       how the loss occurred                                                                                                  loss                             lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.
       Ipad stolen from Debtor's vehicle                    n/a                                                               August, 2016                 $400.00



 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Stubbs & Perdue, P.A.                                         $5,000.00                                                5/31/2017                $22,000.00
       310 Craven Street                                             $17,000.00                                               7/3/2017
       PO Box 1654
       New Bern, NC 28563-1654                                       *See additional information contained in
                                                                     the Affidavit attached to the Application for
                                                                     Employment of Attorney for the Debtor


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
                                                                                                                              made
       Creditor Relief, LLC                                          R S I, Inc. paid $16,775.00                              9/23/2016-6/28                   $0.00
       120 Sylvan Avenue, Ste 300                                                                                             /2017
       Englewood Cliffs, NJ 07632

       Law Offices of Michael Lupolover, P.C.                        R S I, Inc. paid $8,550.00                               12/29/2016 -                     $0.00
                                                                                                                              5/18/2017


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18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or       Date transfer was
       Address                                                       property transferred                       payments received or debts     made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                         Date Transfer was
                                                                                                                                               made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was            Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,           before closing or
       Code)                                                                                                            moved, or                        transfer
                                                                                                                        transferred
       First Bank                                               XXXX-                         Checking                  December, 2016                       $0.00
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       BB&T                                                     XXXX-                         Checking                                                       $0.00
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                              have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                      have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)




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 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                        Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you     Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you     Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case               Status of the
       Case Number                                                   Name                                                                        case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation




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            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business              Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       Hatco, Inc.                                              Construction                                     EIN:         XX-XXXXXXX
       145 Aldersgate Drive
       Jacksonville, NC 28546                                                                                    From-To      12/12/2003 to current

       BRTB, Inc.                                               (Never used)                                     EIN:         XX-XXXXXXX
       201 St Charles Lane
       Jacksonville, NC 28546                                                                                    From-To      7/31/2015 - 5/26/2017
                                                                                                                              (Administrative notice filed)

       R S I, Inc.                                              Real estate                                      EIN:         XX-XXXXXXX
       P.O. Box 627
       Jacksonville, NC 28541                                   Williams Scarborough Smith Gray,                 From-To      5/28/2003 to current
                                                                LLP

       RWS Builders, Inc.                                       Construction                                     EIN:         XX-XXXXXXX
       201 St. Charles Lane
       Jacksonville, NC 28546                                   Williams Scarborough Smith Gray,                 From-To      1/17/2017 to current
                                                                LLP
                                                                P.O. Box 5003
                                                                Jacksonville NC 28540-5003


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                     Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

       First Bank
       Attn: Officer, Mgr. or Agent
       P.O. Box 925
       Troy, NC 27371

       Swift Financial Corporation
       d/b/a Swift Capital
       Attn: Officer, Mgr or Agent
       3505 Silverside Road
       Wilmington, DE 19810

       The Little Bank
       118 West Blvd.
       Jacksonville, NC 28540

       First National Bank
       Attn: Officer, Mgr. or Agt.
       4140 E. State Street
       Hermitage, PA 16148




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 Debtor 1      Robert W. Steele, II                                                                        Case number (if known)




 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Robert W. Steele, II
 Robert W. Steele, II                                                    Signature of Debtor 2
 Signature of Debtor 1

 Date     August 4, 2017                                                 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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                Amounts paid by Robert Steele to RWS, Inc.
                           Robert Steele         $3,000.00
08/04/2016   Deposit
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 Fill in this information to identify your case:

 Debtor 1            Robert W. Steele, II

 Debtor 2
 (Spouse, if filing)

                                                    Eastern District of North Carolina -
 United States Bankruptcy Court for the:            New Bern Division
                                                                                                        Check if this is an amended filing
 Case number
 (if known)


Official Form 122B
Chapter 11 Statement of Your Current Monthly Income                                                                                                         12/15

You must file this form if you are an individual and are filing for bankruptcy under Chapter 11. If more space is needed, attach a separate
sheet to this form. Include the line number to which the additional information applies. On top of any additional pages, write your name and
case number (if known).
 Part 1:       Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.


           Not married. Fill out Column A, lines 2-11.

           Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

           Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
    case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
    of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
    income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If
    you have nothing to report for any line, write $0 in the space.
                                                                                                    Column A                Column B
                                                                                                    Debtor 1                Debtor 2

  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                        5,000.02       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                         $             0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                         0.00      $
  5. Net income from operating a
     business, profession, or farm                Debtor 1                 Debtor 2
       Gross receipts (before all deductions)                             $     0.00
       Ordinary and necessary operating expenses                          -$    0.00
       Net monthly income from a business, profession, or farm $                0.00 Copy here -> $               0.00      $
  6. Net income from rental and
     other real property                          Debtor 1                 Debtor 2
       Gross receipts (before all deductions)                        $            3,247.17
       Ordinary and necessary operating expenses                     -$           1,912.14
       Net monthly income from rental or other real                                          Copy
       property                                                      $            1,335.03 here -> $         1,335.03       $




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                                            page 1
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 Debtor 1     Robert W. Steele, II                                                                    Case number (if known)


                                                                                                  Column A                     Column B
                                                                                                  Debtor 1                     Debtor 2

                                                                                                  $                  0.00      $
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                    $                  0.00      $
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                       $                  0.00      $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism.
       If necessary, list other sources on a separate page and put the total below.
                                                                                                  $                            $
                                                                                                  $                  0.00      $
                  Total amounts from separate pages, if any.                                 +    $                  0.00      $

  11. Calculate your total current monthly income.
       Add lines 2 through 10 for each column.
       Then add the total for Column A to the total for Column B.                        $       6,335.05          +   $                  =   $    6,335.05




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                                              page 2
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 Debtor 1    Robert W. Steele, II                                                                Case number (if known)




 Part 2:       Sign Below

             By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

            X /s/ Robert W. Steele, II
                Robert W. Steele, II
                Signature of Debtor 1

        Date August 4, 2017
             MM / DD / YYYY




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                                          page 3
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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                                                               United States Bankruptcy Court
                                                 Eastern District of North Carolina - New Bern Division
 In re      Robert W. Steele, II                                                                 Case No.
                                                                                 Debtor(s)       Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: August 4, 2017                                                /s/ Robert W. Steele, II
                                                                     Robert W. Steele, II
                                                                     Signature of Debtor




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ROBERT W. STEELE, II                TRAWICK H. STUBBS, JR.            SECURITIES & EXCHANGE COM
P.O. BOX 627                        STUBBS & PERDUE, P.A.             OFFICE OF REORGANIZATION
JACKSONVILLE, NC 28541              PO BOX 1654                       950 E PACES FERRY RD NE 900
                                    NEW BERN, NC 28563                ATLANTA, GA 30326-1382


SECRETARY OF TREASURY               NC DEPT OF REVENUE                UNITED STATES ATTORNEY
ATTN: MANAGING AGENT                ATTN: MANAGING AGENT              ATTN: CIVIL PROCESS CLERK
1500 PENNSYLVANIA AVE NW            PO BOX 1168                       310 NEW BERN AVENUE
WASHINGTON, DC 20220                RALEIGH, NC 27602                 FEDERAL BLDG SUITE 800
                                                                      RALEIGH, NC 27601-1461

INTERNAL REVENUE SERVICE            IRS                               ATTORNEY GENERAL
ATTN: MANAGING AGENT                ALAMANCE BLDG MAIL STOP 24        950 PENNSYLVANIA AVENUE NW
PO BOX 7346                         4905 KOGER BLVD                   WASHINGTON, DC 20530
PHILADELPHIA, PA 19101-7346         GREENSBORO, NC 27407-2734


N.C. DEPT. OF COMMERCE, DES         AMERICAN EXPRESS                  APPLIED RESOURCE MANAGEME
ATTN: MANAGER OR AGENT              ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
P.O. BOX 26504                      P.O. BOX 981535                   257 TRANSFER STATION ROAD
RALEIGH, NC 27611                   EL PASO, TX 79998-1535            HAMPSTEAD, NC 28443


BARCLAYS BANK CARD SVCS.            BB&T                              BEACHFRONT RV PARK
ATTN: OFFICER, MGR. OR AGT          ATTN: JACK R. HAYES               ATTN: MANAGER OR AGENT
P.O. BOX 13337                      PO BOX 1847                       100 EASTVIEW DRIVE
PHILADELPHIA, PA 19101              WILSON, NC 27894-1847             EMERALD ISLE, NC 28594


BUSINESS CARD SERVICES              CAPEHART & SCATCHARD, P.A.        CAPITAL ONE BANK
ATTN: OFFICER, MGR. OR AGENT        ATTN: SERGIO I. SCUTERI           ATTN: OFFICER, MGR. OR AGEN
P.O. BOX 84030                      8000 MIDLANTIC DRIVE              P.O. BOX 71083
COLUMBUS, GA 31908-4030             SUITE 300S                        CHARLOTTE, NC 28272
                                    MOUNT LAUREL, NJ 08054

CAPITAL ONE BANK                    CAPITAL ONE CARD SERVICES         CELTIC BANK
ATTN: OFFICER, MGR OR AGT.          ATTN: OFFICER, MGR. OR AGENT      D/B/A KABBAGE
P.O. BOX 71083                      P.O. BOX 9600                     ATTN: OFFICER, MGR OR AGEN
CHARLOTTE, NC 28272                 CAROL STREAM, IL 60128            P.O. BOX 77073
                                                                      ATLANTA, GA 30357

COMMUNITY LUMBER COMPANY            CORPORATE TURNAROUND              DAUGHTRY, WOODARD, ET AL
ATTN: MANAGER OR AGENT              ATTN: MANAGER OR AGENT            ATTN: LUTHER D. STARLING, ES
P.O. BOX 796                        95 NORTH ROUTE 17, STE 310        P.O. DRAWER 1960
SWANSBORO, NC 28584                 PARAMUS, NJ 07652                 SMITHFIELD, NC 27577-1960


ROBERT DILLINGHAM                   EAST HARDWOOD COMPANY             FARM BUREAU BANK
P.O. BOX 116                        ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
JACKSONVILLE, NC 28541              200 WILLIAMSBURG PARKWAY          P.O. BOX 33427
                                    JACKSONVILLE, NC 28546            SAN ANTONIO, TX 78265
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FIRST BANK                         FIRST NATIONAL BANK               FLA CONSTRUCTION
ATTN: OFFICER, MGR. OR AGENT       ATTN: OFFICER, MGR. OR AGT.       ATTN: MANAGER OR AGENT
P.O. BOX 925                       4140 E. STATE STREET              218 TONI DRIVE
TROY, NC 27371                     HERMITAGE, PA 16148               JACKSONVILLE, NC 28546


FOUNTAIN REALTY COMPANY, INC.      GARRIS EVANS LUMBER               GREENVILLE READY MIX
ATTN: MANAGER OR AGENT             ATTN: MANAGER OR AGENT            ATTN: MANAGER OR AGENT
99 MARINE BOULEVARD                P.O. BOX 2548                     P.O. BOX 890322
JACKSONVILLE, NC 28540             GREENVILLE, NC 27836              CHARLOTTE, NC 28289-0322


HOME DEPOT CREDIT SERVICES         KITCHEN AND LIGHTING              MARSHALL, WILLIAMS & GORHA
ATTN: OFFICER, MGR OR AGENT        ATTN: MANAGER OR AGENT            ATTN: CHARLES MEIER, ESQ.
P.O. BOX 790345                    141WILLIAMSBURG PKWY.             P.O. DRAWER 2088
SAINT LOUIS, MO 63179              JACKSONVILLE, NC 28546            WILMINGTON, NC 28402-2088


PHILLIPS & COHEN                   PNC BANK                          PNC BANK CARDMEMBER SVCS
ON BEHALF OF BARCLAYS BANK         ATTN: OFFICER, MGR. OR AGT.       ATTN: OFFICER, MGR. OR AGEN
ATTN: MANAGER OR AGENT             P.O. BOX 3429                     P.O. BOX 1423
1002 JUSTINSON STREET              PITTSBURGH, PA 15230              CHARLOTTE, NC 28201
WILMINGTON, DE 19801

PROBUILD EAST, LLC                 QUICKEN LOANS, INC.               R S I, INC.
ATTN: MANAGER OR AGENT             ATTN: OFFICER, MGR OR AGT         201 ST CHARLES LANE
P.O. DRAWER 2088                   1050 WOODWARD AVE.                JACKSONVILLE, NC 28546
WILMINGTON, NC 28402               DETROIT, MI 48226


RWS BUILDERS, INC.                 SPROUSE LAW FIRM, PLLC            LUTHER STARLING
P.O. BOX 627                       ATTN: JAMES W. SPROUSE, JR.       ATTY FOR E.G.S., INC.
JACKSONVILLE, NC 28541             3109 POPLARWOOD COURT             P.O. DRAWER 1960
                                   STE 115                           SMITHFIELD, NC 27577
                                   RALEIGH, NC 27604

SWIFT FINANCIAL CORPORATION        SYNCHRONY BANK                    TD AUTO FINANCE
D/B/A SWIFT CAPITAL                ATTN: OFFICER, MGR. OR AGT.       ATTN: MANAGER OR AGENT
ATTN: OFFICER, MGR OR AGENT        P.O. BOX 960013                   PO BOX 9001921
3505 SILVERSIDE ROAD               ORLANDO, FL 32896                 LOUISVILLE, KY 40290
WILMINGTON, DE 19810

THE STONE GALLERY                  TRIANGLE PLAZA, INC.              USAA SAVINGS BANK
ATTN: MANAGER OR AGENT             ATTN: MANAGER OR AGENT            ATTN: OFFICER, MGR. OR AGEN
135 SETH THOMAS LANE               P.O. BOX 12951                    10750 MCDERMOTT FREEWAY
HUBERT, NC 28539                   NEW BERN, NC 28561                SAN ANTONIO, TX 78288


WELLS FARGO                        WELLS FARGO DIRECT                WELLS FARGO MORTGAGE
ATTN: OFFICER, MGR. OR AGT         ATTN: OFFICER, MGR. OR AGENT      ATTN.: OFFICER, MRG OR AGT
P.O. BOX 29482                     P.O. BOX 29482                    P.O. BOX 14411
PHOENIX, AZ 85038-8650             PHOENIX, AZ 85038                 DES MOINES, IA 50306-3411
